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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


 TAMICA MOORE, et al.,
                       Plaintiffs,                 CIVIL ACTION FILE
 v.                                                NO. 1:16-CV-163-TWT
 LIFE CYCLE OBGYN, LLC,
                      Defendant.


                                       JUDGMENT

       This action having come before the court, Thomas W. Thrash, Jr., United States
District Judge, for consideration, it is
       Ordered and Adjudged that the action be DISMISSED for lack of subject matter
jurisdiction.
       Dated at Atlanta, Georgia this 17th day of May, 2016.

                                               JAMES N. HATTEN
                                               DISTRICT COURT EXECUTIVE
                                               and CLERK OF COURT


                                           By: s/Barbara D. Boyle
                                               Deputy Clerk

Prepared, filed, and entered
in the Clerk's Office
    May 17, 2016
James N. Hatten
Clerk of Court

By: B. D. Boyle
       Deputy Clerk
